Case 2:15-cv-01673-JCM-GWF Document 22-2 Filed 02/08/16 Page 1 of 23




                     EXHIBIT 2
                     Declaration of
                     Trey A. Rothell
     Case 2:15-cv-01673-JCM-GWF Document 22-2 Filed 02/08/16 Page 2 of 23




1
                                  UNITED STATES DISTRICT COURT
2                                     DISTRICT OF NEVADA

3      AMA MULTIMEDIA, LLC, a Nevada                 Case No.: 2:15-cv-01673-JCM-GWF
4      limited liability company,

5                   Plaintiff,                       DECLARATION OF
                                                     TREY A. ROTHELL
6      v.
7
       BORJAN SOLUTIONS, S.L. d/b/a
8      SERVIPORNO, a Spanish company;
       and BORJAN MERA URRESTARAZU,
9
       an individual,
10
                    Defendants.
11
12
       I, TREY A. ROTHELL, declare:
13
            1.   I am over 18 years of age and have never been convicted of a crime
14
                 involving fraud or dishonesty.         I am employed as a paralegal for
15
                 Randazza Legal Group, PLLC. I have first hand knowledge of the facts
16
                 set forth herein and could and would testify competently thereto if
17
                 called upon as a witness.
18
            2.   On February 8, 2016 at approximately 12:47 PM, at the offices of
19
                 Randazza Legal Group, PLLC, 4035 South El Capitan Way, Las Vegas,
20
                 NV 89147, I navigated to the Uniform Resource Located (“URL”)
21
                 <Serviporno.com> using Google Chrome web browser on a MacBook
22
                 Air laptop.     Upon navigating the URL, I observed a webpage
23
                 comprised of links to videos, accompanied by thumbnail images of the
24
                 videos, and Spanish-language descriptions of the videos. Using the
25
                 screenshot feature of the MacBook Air laptop, I recorded a true-and
26
                 correct copy of the web page as I observed it. Attached hereto as
27
                                                  -1-
                                      Declaration of Trey A. Rothell
                                        2:15-cv-01673-JCM-GWF
     Case 2:15-cv-01673-JCM-GWF Document 22-2 Filed 02/08/16 Page 3 of 23




1               Exhibit A is a true and correct copy of the screenshot, except that I

2               redacted explicit content from the web page. I retained an unaltered

3               copy of the screenshot, which I can make available to the Court at

4               request.

5         3.    On the webpage at the URL <Serviporno.com>, I observed a drop-

6               down menu at the top right of the page that displayed the text “ES”

7               next to the Spanish flag. Upon clicking on the Spanish flag, a number

8               of other language options appeared. I selected the first option below

9               the Spanish flag, which was an American flag.

10        4.    Upon selecting the American flag, my web browser automatically

11              redirected to the URL <bubbaporn.com>. Using the screenshot feature

12              of the MacBook Air, I documented a true-and correct copy of the web

13              page as I observed it.     Attached hereto as Exhibit B is a true and

14              correct copy of the screenshot, except that I have redacted explicit

15              content from the web page. I have retained an unaltered copy of the

16              screenshot, which I can make available to the Court at request.

17        5.    The website that I was re-directed to, <bubbaporn.com>, appeared

18              identical to <Serviporno.com>, except that the language was English

19              and that the logo said “BUBBAPORN,” although the style and

20              appearance of the logo was identical to the “SERVIPORNO” logo.

21        6.    I navigated the web browser back to <Serviporno.com> and observed

22              the links at the bottom of the page.           I observed among the links

23              present were links titled “Política de Privacidad,” “Términos y

24              Condiciones,” “DMCA – Copyright,” “2257 STATEMENT,” and “Parental

25              Control.”    Using the screenshot feature of the MacBook Air, I

26              documented a true-and correct copy of the web page as I observed

27              it.   Attached hereto as Exhibit C is a true and correct copy of the
                                               -2-
                                   Declaration of Trey A. Rothell
                                     2:15-cv-01673-JCM-GWF
     Case 2:15-cv-01673-JCM-GWF Document 22-2 Filed 02/08/16 Page 4 of 23




1               screenshot, except that I redacted explicit content from the web

2               page. I have retained an unaltered copy of the screenshot, which I

3               can make available to the Court at request.

4         7.    While observing the web page located at <Serviporno.com>, I noticed

5               that the advertisements present were in English. See Exhibit C.

6         8.    Choosing    the   links   “Política   de    Privacidad”   and     “Términos   y

7               Condiciones”        both        directed         me       to      the      URL

8               <http://www.serviporno.com/terms/>. The text of the “Terms of Use” at

9               this web page appeared in English. None of the terms that I observed

10              on this web page referred to any Country’s data protection laws

11              except that of the United States. I used the print-to-PDF feature of the

12              web browser to record a PDF of the web page as I observed it. A true

13              and correct copy of this web page as I observed it is attached hereto

14              as Exhibit D.

15        9.    Choosing the link “DMCA – Copyright” directed my web browser to the

16              URL <http://www.serviporno.com/dmca/>. The title of the web page

17              that I observed at that URL was “DMCA Notice & Takedown Policy and

18              Procedures.”      The text of the web page appeared in English.

19              Additionally, I observed that the web page referred to a “Designated

20              Copyright Agent,” and directed users to “send [their] Notice of

21              Claimed Infringement” to an address in Fort Lauderdale, Florida. I used

22              the print-to-PDF feature of the web browser to record a PDF of the web

23              page as I observed it. A true and correct copy of this web page as I

24              observed it is attached hereto as Exhibit E.

25        10.   Choosing the link “2257 STATEMENT” directed my web browser to the

26              URL <http://www.serviporno.com/2257-statement/>.               The title of the

27              web page that I observed at that URL was “18 U.S.C. 2257 Record
                                                -3-
                                    Declaration of Trey A. Rothell
                                      2:15-cv-01673-JCM-GWF
     Case 2:15-cv-01673-JCM-GWF Document 22-2 Filed 02/08/16 Page 5 of 23




1                  Keeping Requirements Compliance Statement.” The text of the web

2                  page appeared in English. I used the print-to-PDF feature of the web

3                  browser to record a PDF of the web page as I observed it. A true and

4                  correct copy of this web page as I observed it is attached hereto as

5                  Exhibit F.

6         11.      Choosing the link “Parental Control” directed my web browser to the

7                  URL <http://www.parentalcontrolbar.org/>, which appeared as a

8                  website offering a “Parental Control Bar.” The web page appeared in

9                  English. No languages other than English were available to view the

10                 web page through. I used the print-to-PDF feature of the web browser

11                 to record a PDF of the web page as I observed it. A true and correct

12                 copy of this web page as I observed it is attached hereto as Exhibit G.

13
14              I declare under penalty of perjury under the laws of the State of Nevada

15     that the foregoing is true and correct.

16
17              Dated February 8, 2016.

18
                                                               Trey A. Rothell
19
20
21
22
23
24
25
26
27
                                                  -4-
                                      Declaration of Trey A. Rothell
                                        2:15-cv-01673-JCM-GWF
Case 2:15-cv-01673-JCM-GWF Document 22-2 Filed 02/08/16 Page 6 of 23




                        EXHIBIT A
                  Serviporno Homepage
Case 2:15-cv-01673-JCM-GWF Document 22-2 Filed 02/08/16 Page 7 of 23
Case 2:15-cv-01673-JCM-GWF Document 22-2 Filed 02/08/16 Page 8 of 23




                        EXHIBIT B
                 BubbaPorn Homepage
Case 2:15-cv-01673-JCM-GWF Document 22-2 Filed 02/08/16 Page 9 of 23
Case 2:15-cv-01673-JCM-GWF Document 22-2 Filed 02/08/16 Page 10 of 23




                        EXHIBIT C
                  Serviporno Homepage
                    (bottom of page)
Case 2:15-cv-01673-JCM-GWF Document 22-2 Filed 02/08/16 Page 11 of 23
Case 2:15-cv-01673-JCM-GWF Document 22-2 Filed 02/08/16 Page 12 of 23




                         EXHIBIT D
                       Serviporno Terms
2/8/2016             Case 2:15-cv-01673-JCM-GWF        Document
                                    VIDEOS PORNO XXX GRATIS - PORNO Y22-2   FiledEN02/08/16
                                                                      SEXO GRATIS             Page 13 of 23
                                                                                    SERVIPORNO.COM

                                                                                                                    PORNO XXX GRATIS PARA TODOS               ES

    MEJORES VÍDEOS CATEGORÍAS PORNSTARS CANALES LIVE SEX MEET & FUCK

                                                                                               S P R O                 CumLouder.com         GRATIS



Terms of Use
    . ACCEPTANCE
                              S                                                                                                      S
                     S                                                                                                                            S
                                                                                                                        A
                                               I

T                                      A                                               S
                                                       I


T                                                                              S
                                                                                                                                 A

    . DESCRIPTION
T     S
                                                                                                    I           S
                                           S
A

T     S                                                                                                                                  S            S
                                                                                                                        S
                                                   S


                     A                                                     S
                                                                                           S

    . ACCESS
I
                                                                                                                        I



    . CONDUCT

                                                                   S
                                       S

                                                                       S

                                                                                                                                                          S




S
                                                   S                                            S

                 S



    . INTELLECTUAL PROPERT
T                                  S                                               S

S                                                                                                       S
                                                           AS IS

                         S

S                                                                                                           I


http://www.serviporno.com/terms/                                                                                                                                   1/4
2/8/2016                Case 2:15-cv-01673-JCM-GWF        Document
                                       VIDEOS PORNO XXX GRATIS - PORNO Y22-2   FiledEN02/08/16
                                                                         SEXO GRATIS             Page 14 of 23
                                                                                       SERVIPORNO.COM
                                                  S
S

    . USER SU MISSIONS
S
                                                                  S                                                       S


S                                                                                                                                                                      S
                P
                                                                                              S                                                                                P       S
                                                                  S                                       I
                P

                                                                                              S
                                      S

                                                                                                                                              S
                                                                                                              S                                                                        S
                                                                                  T       S



                                                                                                                                                                       S
                                                                                                                                                   S
                                          T           S                                                                                           S
    S                    S                                                S
                                                                                                                      S                                            S
    S                                                                                                                                                                          S
                                                                                                                                                                       S
                                                              S
                                  S                                                                                                               T        S               T
                                                                                              S                       S

I


                                                                                                                                                                                   S


                                                                                                      S




        I                                             S                                                   S
            S                                                                                                     S                   S
                                                                                                              S                                                            S
                                                          S                                                                               S
                S                                                                     S
                                                                                                  S
                                              S                                                                   T           S
                                                                                                                                                                       S
            S                                                                                                                                 T        S


                                                                                                                                      S
S                                                                                                                                                                      S
                                                                                              S
                                                                                                                                          S
                          S                           O


                    S                                                                                                                                                      S
                                      S

S                                                                                                 S                                                                                        S
S                                                                     I                   S                                                                    S                   S
S
                                                                              S                                                   S
A
                              I                               S                                                                       S


http://www.serviporno.com/terms/                                                                                                                                                               2/4
2/8/2016           Case 2:15-cv-01673-JCM-GWF        Document
                                  VIDEOS PORNO XXX GRATIS - PORNO Y22-2   FiledEN02/08/16
                                                                    SEXO GRATIS             Page 15 of 23
                                                                                  SERVIPORNO.COM



    . ACCOUNT TERMINATION POLIC
                              S
       S                                                                                         S                                                           T

                                             S                                      S
                          T

    . POLIC
S                                 RO TO          RAN                                                         P
                                                                                        S               S



    . WARRANTIES
                                                                                             S                                      S
                                                                                    A

A                                  S                                                     S
                                                                                                         S

                                       S                                                                                            S          P       P

     . WARRANT DISCLAIMER
 O AGR T AT O R S O T       S            SIT S A     AT O R SO RIS TO T           ST XT NT P R ITT D                                                             A  S        ITS
O I RS DIR TORS     P O  S AND AG NTS DIS AI A      ARRANTI S XPR SS OR I P I D IN ONN TION IT T                                                                  SIT AND O R S
T R O S           A S NO ARRANTI S OR R PR S NTATIONS A O T T     A   RA    OR O P T N SS O T IS SIT S                                                           ONT NT OR T
 ONT NT O AN SIT S IN D TO T IS SIT AND ASS    S NO IA I IT OR R SPONSI I IT OR AN

        RRORS      ISTA       S OR INA            RA I S O     ONT NT
       P RSONA IN         R OR PROP RT DA AG                 O AN NAT R                ATSO          R R S       TING RO       O RA       SS TO AND   S O O R           SIT
       AN   NA T ORI D A                    SS TO OR    S O O RS            R S R       RS AND OR AN AND A                  P RSONA IN OR ATION AND OR INAN IA
     IN OR ATION STOR D T                  R IN
       AN INT RR PTION OR   SSATION O TRANS ISSION TO OR RO O R                                          SIT  I        AN      GS   IR S S TRO AN     ORS S OR T         I       I
      A    TRANS ITT D TO OR T RO G O R     SIT    AN T IRD PART                                       AND OR
       AN RRORS OR O ISSIONSIN AN         ONT NT OR OR AN OSS OR DA AG O AN       IND IN RR D AS A R S T O T         S O AN    ONT NT
     POST D     AI D TRANS ITT D OR OT R IS         AD A AI A    IA T   S            SIT S          DO S NOT ARRANT NDORS
     G ARANT     OR ASS      R SPONSI I IT OR AN PROD T OR S R I      AD RTIS D OR O    R D    A T IRD PART T RO G T      S
        SIT OR AN       P R IN D     SIT OR AT R D IN AN     ANN R OR OT R AD RTISING AND S              I NOT      A PART TO OR IN
     AN    A     R SPONSI      OR ONITORING AN TRANSA TION T        N O AND T IRD PART PRO ID RS O PROD TS OR S R I S AS IT
     T   P R AS O A PROD T OR S R I          T RO G AN      DI  OR IN AN N IRON NT O S O D S O R ST DG NT AND
      X R IS   A TION       R APPROPRIAT T      OR GOING I ITATION O IA I IT S A APP TO T              ST XT NT P R ITT D      A IN
     T   APP I A       RISDI TION O SP I I A       A NO     DG T AT S         S A NOT       IA     OR S R S    ISSIONS OR T
     D A ATOR O         NSI   OR I  GA     OND T O AN T IRD PART AND T AT T      RIS O    AR OR DA AG RO T            OR GOING R STS
      NTIR     IT    O

     . LIMITATION OF LIA ILIT
IN NO        NT S A S                       ITS O I RS DIR          TORS        P O   S OR AG NTS                 IA    TO O        OR AN DIR      T INDIR       T IN ID NTA
SP IA       P NITI  OR         ONS            NTIA DA AG S           ATSO        R R S TING RO AN

        RRORS      ISTA       S OR INA            RA I S O     ONT NT
       P RSONA IN         R OR PROP RT DA AG                 O AN NAT R                ATSO          R R S       TING RO       O RA       SS TO AND   S O O R           SIT
       AN   NA T ORI D A                    SS TO OR    S O O RS            R S R       RS AND OR AN AND A                  P RSONA IN OR ATION AND OR INAN IA
     IN OR ATION STOR D T                  R IN
       AN INT RR PTION OR                   SSATION O TRANS ISSION TO OR RO                  O R         SIT
       AN     GS    IR S S TRO AN                 ORS S OR T        I       I      A         TRANS ITT D TO OR T RO G               O R      SIT      AN T IRD PART           AND OR
       AN RRORS OR O ISSIONS IN AN  ONT NT OR OR AN OSS OR DA AG O AN        IND IN RR D AS A R S T O O R S O AN
      ONT NT POST D    AI D TRANS ITT D OR OT R IS   AD A AI A     IA T   S            SIT      T R AS D ON ARRANT
      ONTRA T TORT OR AN OT R GA T OR AND           T R ORNOT T     O PAN IS AD IS D O T      POSSI I IT O S     DA AG S T
      OR GOING I ITATION O IA I IT S A APP TO T         ST XT NT P R ITT D      A IN T   APP I A      RISDI TION O
     SP I I A   A NO     DG T AT S        S A NOT     IA    OR S R S    ISSIONS OR T   D A ATOR O         NSI  OR I GA
      OND T O AN T IRD PART AND T AT T     RIS O  AR OR DA AG RO T          OR GOING R STS NTIR        IT   O

     . INDEMNIT
                                                                S


http://www.serviporno.com/terms/                                                                                                                                                     3/4
2/8/2016             Case 2:15-cv-01673-JCM-GWF        Document
                                    VIDEOS PORNO XXX GRATIS - PORNO Y22-2   FiledEN02/08/16
                                                                      SEXO GRATIS             Page 16 of 23
                                                                                    SERVIPORNO.COM
                                       S
                                               T       S


         A                                 S                          T                                           T
         S                         S


                                                                                                 T      S
                                   T

    . ASSIGNMENT
T    T
                 S

I
                                                                                                              A




     Información:                              Work with us:    Cuenta:

         P           P
         T                                                        R
         D   A                                     A
             STAT        NT
         P




http://www.serviporno.com/terms/                                                                                      4/4
Case 2:15-cv-01673-JCM-GWF Document 22-2 Filed 02/08/16 Page 17 of 23




                         EXHIBIT E
                  Serviporno DMCA Page
2/8/2016          Case 2:15-cv-01673-JCM-GWF        Document
                                 VIDEOS PORNO XXX GRATIS - PORNO Y22-2   FiledEN02/08/16
                                                                   SEXO GRATIS             Page 18 of 23
                                                                                 SERVIPORNO.COM

                                                                                                                           PORNO XXX GRATIS PARA TODOS                                   ES

    MEJORES VÍDEOS CATEGORÍAS PORNSTARS CANALES LIVE SEX MEET & FUCK

                                                                                                 S P R O                           CumLouder.com                    GRATIS



DMCA Notice & Takedown Po ic and Procedures
A                                                              S
                             N                    T                                      D                                 A   D           A

T              SIT                        S           P                                                  S                         D                                         A       D       A
A                                                                                                                          D   A
                                                                                                                           T                                                     D       A
                         N        T                       P

Notice of C aimed Infrin ement
I                                                                                                                                               O        D                           A




                                                                                                             SIT




                                                                                                                       N


                     N                        I

      Copyright Agent
      6750 N. Andrews Ave., Suite 200
      Fort Lauderdale, FL 33309
      United States
      Fax: (800) 371-0235
      E-mail: dmca@servitubes.com

P                                                                          D             A       A                                                   D               A
                                                                                                                                                     D         AN

                                                                                                                       D   A


A       N            A            D           AN                                                                                    D          AN
                                                                                                     S             S               T           N                T            P

                                                                           D     A                                                             P
                                                  D       AN                     D           A

Take Down Procedure
T     SIT                                                                                                                                                                                    T   SIT
                                                                                                                                                   SIT
                                                                                                                 I                                       SIT
                                                                           SIT
                                                          S                      D                                     A   D   A       T       SIT        D     AN       P
                                      I                                                                  D   A
                                                          D    A           SIT
                                                                                     D           A                                             SIT
                                                                                                 T                                                                                       D
A
                                  A                   D                A
                                                                   D                 A



DMCA Counter Notification Procedure
I      R             N                        I                        N                             N
http://www.serviporno.com/ mc /                                                                                                                                                                        1/2
2/8/2016               Case 2:15-cv-01673-JCM-GWF        Document
                                      VIDEOS PORNO XXX GRATIS - PORNO Y22-2   FiledEN02/08/16
                                                                        SEXO GRATIS             Page 19 of 23
                                                                                      SERVIPORNO.COM
                                                                                                        R
S                                              D   A A                                                            R
                   N               T                            R                                                                                  R
                                                                                                            SIT


T                                                                    O    D

                                                                                                                  N
                                                                                        SIT


                                                   R
                                       I                                                I


           R
                                           R                                                            D                                              R
                               R                                          S                                                                                  R
                                                                                              N




      Copyright Agent
      6750 N. Andrews Ave., Suite 200
      Fort Lauderdale, FL 33309
      United States
      Fax: (800) 371-0235
      E-mail: dmca@servitubes.com

P                                                                             D               A    A                                  D        A
                                                                                                                                      D   AN

A                      D           A                                          O   D                         A
                                                                          N

T                                                                     O
                                               O       D                      A
                               R                                                                                      SIT

Ser ice Pro ider Customers or Su scri ers
I                                                                                       D     AN                            S   P                                S
                       SIT                                      D     AN
                                                                    D  AA                                                       SIT

Modifications to Po ic
T    SIT


           S               R
P                              D       AA                                         SIT
                                                                                                             A                                         SIT




     Información:                                          Work with us:                               Cuenta:

       P               P
       T                                                                                                R
       D       A                                            A
               STAT            NT
       P




http://www.serviporno.com/ mc /                                                                                                                                      2/2
Case 2:15-cv-01673-JCM-GWF Document 22-2 Filed 02/08/16 Page 20 of 23




                         EXHIBIT F
                   Serviporno 2257 Page
2/8/2016               Case 2:15-cv-01673-JCM-GWF        Document
                                      VIDEOS PORNO XXX GRATIS - PORNO Y22-2   FiledEN02/08/16
                                                                        SEXO GRATIS             Page 21 of 23
                                                                                      SERVIPORNO.COM

                                                                                             PORNO XXX GRATIS PARA TODOS      ES

 MEJORES VÍDEOS CATEGORÍAS PORNSTARS CANALES LIVE SEX MEET & FUCK

                                                                           S P R O                   CumLouder.com   GRATIS



          U.S.C.                        Record Kee in Re uirements Com iance Statement
A                                                                  D                     S       R               R
S                                                       R     S
                                                                                S                R      T
                                                                                                                        A
                                                                           S                 R

D                           D

A
                                                                                                             S

                                                                       S                 R


      S                          R                                                               R

                   R
           S           S
S                       D
G
S




     Información:                                  Work with us:               Cuenta:

          P            P
          T                                                                     R
          D    A                                    A
               STAT         NT
          P




http://www.serviporno.com/22         -st tement/                                                                                   1/1
Case 2:15-cv-01673-JCM-GWF Document 22-2 Filed 02/08/16 Page 22 of 23




                        EXHIBIT G
                    Parental Control Bar
2/8/2016          Case 2:15-cv-01673-JCM-GWF Document
                                             P rent Contro 22-2
                                                            r omeFiled
                                                                 P e 02/08/16 Page 23 of 23

                                                                                                                                  Home    Download Now     Contact Us




      Parental Monitoring
      Software for the Internet

       e a ental Cont ol a s a ee          l c se ce t at el s
     conce ned a ents e ent t e c ld en om access n
     ad lt o ented we s tes Com lete o s m le t ee ste
     nstallat on ocess and sta t cont oll n o am l s
     onl ne act t

             s t s a ee se          ce



     Download                                          el ontrol what o r
                                                     fa il iew online
                                                                                                   free          li     er i e
                                                                                                 a ental Cont ol a s o ded
                                                                                                                                         S te
                                                                                                                                         re ire ent

     the Parental                                      a ental Cont ol a s a s m le
                                                       owe l tool to el s eld o
                                                                                                 ee o c a e to t e
                                                                                                       C o a non o t
                                                                                                                      lc                    ndows
                                                                                                                                            ndows      N
                                                                                                                                                           sta

                                                                                                o an at on ded cated to

     Control Bar.
                                                     c ld en om e l c t we s tes
                                                        m l act ate C ld ode w le                 o d n ee e ect e nte net                    ll not wo w t
                                                      o c ld en s t e nte net and               cont ol tools                             m lt se acco nts
                                                     t e tool a w ll loc access to ad lt                                                    ool a w ll onl wo
     It                and it ea                     o ented we s tes                                                                     on a s n le se
                                                                                                                                          s stem
                                                                                                                                           nte net     lo e

                                                                                                                                          New     aa
                                                                                                                                           le    e

                                         ac   ol c     Co      t             Co    a non   o t o an at on   ll        ts ese ed




http://www.p rent contro   r.or /                                                                                                                                       1/1
